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        COLOPLAST CORP.
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   10                   IN THE UNITED STATES DISTRICT COURT
   11               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   12
        CAROL DECELLES,
   13                                        Case No. 3:19-cv-01833-BAS-LL
   14              Plaintiff,                JOINT NOTICE OF COMPLETE
                                             SETTLEMENT OF THE CASE
   15
             vs.
   16
        COLOPLAST CORP., et al.,
   17

   18              Defendants.

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                   JOINT NOTICE OF COMPLETE SETTLEMENT OF THE CASE
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    1         Plaintiff Carol Decelles and Defendant Coloplast Corp. respectfully submit
    2   this Joint Notice of Complete Settlement of the Case. The parties hereby jointly
    3   inform the Court that the parties have resolved all claims in this action.
    4 Dated: March 10, 2020                   KING & SPALDING LLP
    5
                                              By: /s William E. Steimle
    6                                             WILLIAM E. STEIMLE
                                                  wsteimle@kslaw.com
    7

    8                                              Attorneys for Defendant
    9
                                                   COLOPLAST CORP.

   10 Dated: March 10, 2020                   SALIM-BEASLEY, LLC
   11
                                              By: /s Barrett L. Beasley*
   12                                             Barrett L. Beasley
   13
                                                  bbeasley@salim-beasley.com

   14                                              Attorneys for Plaintiff
   15
                                                   CAROL DECELLES

   16                     *Attestation Regarding Electronic Signatures
   17         I, William E. Steimle, attest that concurrence in the filing of this document
   18   has been obtained from each signatory whose ECF user ID and password are not
   19   being used in the electronic filing of this document.
   20

   21 Dated: March 10, 2020                   KING & SPALDING LLP

   22                                         By: /s William E. Steimle
   23                                             WILLIAM E. STEIMLE
                                                  wsteimle@kslaw.com
   24

   25                                              Attorneys for Defendant
                                                   COLOPLAST CORP.
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                     JOINT NOTICE OF COMPLETE SETTLEMENT OF THE CASE
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    1                             CERTIFICATE OF SERVICE
    2         The undersigned counsel for Defendant hereby certifies that a true and
    3   correct copy of the foregoing document was filed with the Court and served
    4   electronically through the CM-ECF (electronic case filing) system to all counsel of
    5   record to those registered to receive a Notice of Electronic Filing for this case on
    6   the date shown below.
    7    Dated: March 10, 2020                KING & SPALDING LLP
    8
                                              By: /s William E. Steimle
    9                                             WILLIAM E. STEIMLE
   10                                             wsteimle@kslaw.com
   11                                              Attorney for Defendant
   12                                              COLOPLAST CORP.
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                     JOINT NOTICE OF COMPLETE SETTLEMENT OF THE CASE
